
450 So.2d 355 (1984)
STATE of Louisiana ex rel. Robert SAWYER
v.
Ross MAGGIO, Jr., Warden, Louisiana State Penitentiary.
No. 84-KP-0919.
Supreme Court of Louisiana.
May 10, 1984.
In view of the fact that counsel assigned by the trial judge in this capital case was not admitted to the bar for at least five years prior to trial as required by La.Code Crim.P. art. 512 and considering defendant's contentions relative to ineffective assistance of counsel, we grant the application, stay the execution and remand the case to the district court with instructions to the trial judge to conduct an evidentiary hearing on whether defendant received effective assistance of counsel and to reconsider defendant's entire application in light of that evidence.
